  Case 3:10-cr-00318-CCC        Document 112       Filed 07/08/11    Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                 CRIMINAL 10-0318CCC
 1) ARCADIO HERNANDEZ-SOTO
 2) WILLIAM RIVERA-GARCIA
 3) JOEL HERNANDEZ-HERNANDEZ
 4) ROLANDO NIEVES-VALENTIN
 5) NEFTALI VALENTIN-FRED
 Defendants

                                        ORDER

       Having considered the Report and Recommendation filed on May 24, 2011 (docket

entry 104) on a Rule 11 proceeding of defendant Joel Hernández-Hernández (3) held

before U.S. Magistrate Judge Bruce J. McGiverin on May 24, 2011, to which no opposition

has been filed, the same is APPROVED. Accordingly, the plea of guilty of defendant Joel

Hernández-Hernández is accepted. The Court FINDS that his plea was voluntary and

intelligently entered with awareness of his rights and the consequences of pleading guilty and

contains all elements of the offense charged in the indictment.

       This case was referred to the U.S. Probation Office for preparation of a Presentence

Investigation Report since May 24, 2011.        The sentencing hearing is set for

August 23, 2011 at 4:30 PM.

       SO ORDERED.

       At San Juan, Puerto Rico, on June 30, 2011.


                                                 S/CARMEN CONSUELO CEREZO
                                                 United States District Judge
